Case 2:10-md-02179-CJB-DPC Document 12345-3 Filed 02/14/14 Page 1of7

Exhibit
Case 2:10-md-02179-CJB-DPC Document 12345-3 Filed 02/14/14 Page 2 of 7

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807H ConGrREss } HOUSE OF REPRESENTATIVES { Report
9d Session No. 1523

EXTENSION OF ADMIRALTY JURISDICTION

Marca 8, 1948.—Referred to the House Calendar and ordered to be printed

Mr. Foor, from the Committee on the Judiciary, submitted the
following

REPORT

[To accompany H. R. 238]

The Committee on the Judiciary, to whom was referred the bill
(H. R. 238) for the extension of admiralty jurisdiction, having con-
sidered the same, report favorably thereon with an amendment and
recommend that the bill do pass.

The amendment is as follows: |

Page 1, line 11, change the period at the end of the line to a comma

and add the following proviso:
Provided, That as to any suit against the United States for damage or injury done
or consummated on land by a vessel on navigable waters; the Public Vessels Act
or Suits in Admiralty Act, as appropriate, shall constitute the exclusive remedy
for all causes of action arising after the date of the passage of this Act and for all
causes of action where suit has not been hitherto filed under the Federal Tort
Claims Act: Provided further, That no suit shall be filed against the United States
until there shall have expired a period of six months after the claim has been
presented in writing to the Federal agency owning or operating the vessel causing
the injury or damage.

PURPOSE OF THE BILL

Under existing law, admiralty and maritime jurisdiction in respect
of claims arising out of maritime torts is extended by the United
States courts to only those cases where injury is done upon navigable
waters, and not to those where injury is done to persons or property
situated upon land, even though the injury is caused by a vessel.
situated on navigable waters. For example, if a bridge or-pier, or
any person or property situated thereon, is injured by a vessel, the
admiralty courts of the United States do not entertain the claim for
the damages thus caused. Cleveland Terminal & Valley R. R. Co. v.
Cleveland S. S. Co. (208 U.S. 316); The Troy (208 U.S. 321) Martin v.
West (222 U. 8. 191). The bill under consideration would provide
for the exercise of admiralty and maritime jurisdiction in all cases of
the type above indicated.

Case 2:10-md-02179-CJB-DPC Document 12345-3 Filed 02/14/14 Page 3 of 7

2 _ EXTENSION OF ADMIRALTY JURISDICTION a.
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As a result of the denial of admiralty jurisdiction in cases where
injury is done on land, when a vessel collides with a bridge through
mutual fault and both are damaged, under existing law the owner of the
bridge, being denied a remedy in admiralty, is barred by contributory
negligence from any recovery in an action atlaw. But the owner of
the vessel may by a suit in admiralty recover half damages from the
bridge, contributory negligence operating merely to reduce the
recovery. Further, where a collision between a vessel and a land
structure is caused by the fault of a compulsory pilot, the owner of
the land structure is without remedy for his injuries since at law a
compulsory pilot is not deemed the servant of the vessel’s master or
owner. Homer Ramsdell Transportation Co. v. Compagnie Generale
Transatlantique (182 U. S. 406, 416). But if the vessel sheers off

- the land structure to collide with another vessel in the vicinity, the
owner of the second vessel, by an in rem proceeding in admiralty,
may recover full damages, for the wrong is viewed as that of the
vessel itself and compulsory pilotage is no defense. The China

(74 U.S. 53, 68). The bill under consideration would correct these
inequities as a result of providing that the admiralty courts shall take
cognizance of all of them.

' The bill will bring United States practice respecting maritime torts
into accord with that followed by the British, who by a series of
statutes, beginning in 1840, have restored admiralty jurisdiction in
situations of this character and brought the British law into harmony
with that of most European countries. For a number of years the
American ‘Bar Association and the Maritime Law Association of the
United States have pressed for legislation of this character. Bills
similar to H. R. 238 have been introduced in each Congress since the
Seventh-fifth. Such bills have heretofore been approved in principle
by the Maritime Commission, War Shipping Administration, and the
Navy Department but not by this Department.

Congress has failed. on several occasions to pass legislation of this
kind. For example, -it was thought undesirable, while the United
States was at war and operating many vessels, both through the War
Shipping Administration and in the military and naval service, to
impose additional liabilities on the United States for injuries caused
by its vessels. Courts have held jurisdiction under the Public Vessels
Act, 1925, to be confined to cases where a private admiralty proceeding
could be maintained. State of Maine v. United States (45 F. Supp.
35, affirmed 134 F. 2d 574, cert. denied 319 U.S. 772). Since the act
(46 U. S. Code 781) covers, without exception, all “damages caused
by a public vessel” a contrary result appears justified by its plain
language as well as its purpose (see. 66 Congressional Record, 3560).
and the construction given the similar language of the British statutes.
See especially The Uhla (19 L. T. R. (un. s.) 89, 90). But the Depart-
ment formerly thought it wise to oppose alteration of the rule.

Now’ that the Tort Claims Act, 1946, has been enacted, however,
jurisdiction of any claims for injuries excluded by interpretation from
the Public Vessels Act will clearly fall within the Tort Claims Act.
Moreover, in peacetime Government vessels are seldom in charge of
a compulsory pilot. It therefore seems unlikely that the bill can
materially increase the liability of the United States for injuries caused
by its vessels. On the other hand, so far as regards the right of the
United States to recover for injuries done to Government-owned sub-

Case 2:10-md-02179-CJB-DPC Document 12345-3 Filed 02/14/14 Page 4 of 7

e EXTENSION OF ADMIRALTY JURISDICTION 3

marine cables and shore installations through the negligence of com-
pulsory pilots in charge of private vessels, the enactment of the bill
will be of substantial advantage to the United States.

Adoption of the bill will not create new causes of action. It merely .
specifically directs the courts to exercise the admiralty and maritime
jurisdiction of the United States already conferred by article ITI,
section 2 of the Constitution and already authorized by the Judiciary '
acts. Moreover there will still remain available the right to a com-
mon-law remedy which the Judiciary Acts (28 U. 8S. Code 41 (3))
have expressly saved to claimants. In the case of claims against the
United States, however, as a result of section 421 (d) of the Tort
Claims Act, 1946, which makes the remedy in admiralty under the -
Suits in Admiralty and Public Vessels acts exclusive where available,
the right of claimants to proceed against the United States by civil - .

. action will be abolished. To avoid the possibility of confusion in
this respect, the committee has adopted certain amendments to the
bill which will, among other things, impose a 6-month waiting period
before suit can be filed against the United States.

The bill is endorsed by the American Bar Association and the
Maritime Law Association of the United States. The Bureau of the
Budget has indicated no objection to the bill.

The following letters have been received by the committee from
the Secretary of the Navy, the Chairman of the Maritime Commis-
sion, and the Attorney General:

THe SEcRETARY oF THE Navy,
Washington, July 8, 1947.
Hon. Eart C. Micuener,
Chairman of the Commitee of the Judiciary, House of Representatives.

My Dear Mr. CHarrman: The bill H. R. 238 for the extension of admiralty
jurisdiction has been referred by your committee to the Navy Department with
request for a report thereon. :

H. R. 238 would extend the traditional admiralty jurisdiction to include
damage occasioned by a vessel to land structures. At the present time such

causes of action have to be maintained on the common-law side. Under the ty
English law the admiralty jurisdiction includes damage caused to land structures. i
Various bills to accomplish this extension of the admiralty jurisdiction have been 4
sponsored in the United States for many years by the Maritime Law Association. :
Suits for damage caused by naval vessels are brought under the Public Vessels \

Act (act of March 3, 1925, ch. 428, 43 Stat. 1112; 46 U.S. C. A., sec. 781 et seq.). }
Since the admiralty jurisdiction does not include damage to land structures, the | v
United States has not been subject to suit for juries of this character under the i¢
Public Vessels Act (State of Maine v. U. S., 45 Fed. Supp. 35 and 134 Fed. (2d) /i
574). The Navy Department, however, since July 1944 (act of July 3, 19447 ©
58 Stat. 726; 46 U. 8S. C. 797), has had authority, up to the amount of $1,000,000, |
to effect settlement and make direct payment of claims for damage caused by -
naval vessels. This settlement authorization includes damage to land structures

and such claims have been disposed of administratively.

Any question as to the advisability of further waiving sovereign immunity and
extending the field for suit against the United States in this matter has now
become academic with the passage of the Federal Tort Claims Act (Public Law
601, 79th Cong.). Under that act the United States is subject to a suit at law for
damage caused by its vessels to land structures. As far as its effect on the Navy
Department is concerned, the proposed bill would transfer the forum of such
litigation from the common law side to the admiralty side. A further possible
difference would lie in the fact that, in cases of mutual fault, the admiralty courts
would apply the rule of divided damages. Under the Federal Tort Claims Act
the rule to be applied is ‘‘the law of the place where the act or omission occurred.”

An example of- this difference would arise in a jurisdiction where contributory
negligence constitutes a bar and where a damaged bridge might constitute an
illegal structure which contributed to the injury. In this instance there would be |
no recovery for the damage to the shore structure as contrasted with the divided-
damages result in admiralty.

Case 2:10-md-02179-CJB-DPC Document 12345-3 Filed 02/14/14 Page 5of7

4 EXTENSION OF ADMIRALTY JURISDICTION @ 4

The operation of the Federal Tort Claims Act extends back to January 1, 1945.
The Public Vessels Act has 4 2-year limitation. The situation, therefore, does
not present any matter of opening up causes of action which could not otherwise
be maintained. .

Tt is, however, thought advisable to suggest that consideration be given to the
matter of the exclusiveness of the proposed remedy in admiralty. Presumably,
with the enactment of H. R. 238, the right to suc the United States at law for

. damage caused by public vessels to land structures would terminate. Section 421
of the Federal Tort Claims Act excludes: ‘(d) Any claim for which a remedy is

provided by the Act of March 9, 1920 (U.S. C., title 46, secs. 741-752, inclusive), or
the Act of March 3, 1925 (U.S. C., title 46, sees. 781-790, inclusive), relating to
claims or suits in admiralty against the United States.”

Both under the Suits in Admiralty Act and under the Publie Vessels Act,
passage of the pending bill would create a cause of action in admiralty not hitherto
existing. The resulting situation may raise an issue as to whether the cause of
action, previously authorized under the Federal Tort Claims Act, continues, or
whether the remedy under the extended admiralty jurisdiction would relate only
to causes of action arising subsequent to the passage of the proposed bill. The
situation may also raise the issue of whether there would still continue the alterna-
tive remedy against the United States for damage to land structures. These
alternative remedies would be at law under the Federal Tort Claims Act and in
admiralty under the Suits in Admiralty Act or Public Vessels Act, respectively.
To awoid any of these issues which may arise and eliminate potential litigation, it
is thought advisable to have an express provision as to exclusiveness of the ad-
miralty remedy and its prospective effect. .

It is further thought advisable to suggest that the committee may wish to give
consideration to the retention of the provision of the Federal Tort Claims Act,
which afford the Federal agency an opportunity to adjust the claim prior to the
filing of any suit. In the usual case of damage to land structures, there is no
question of liability and the situation makes very desirable the availability of an
opportunity for settlement and adjustment without litigation. In connection

. With suit under the Federal Tort Claims Act, section 410 provides: “No suit shall
be instituted pursuant to this section upon a claim presented to any Federal
agency pursuant to part 2 of this title unless such Federal agency has made a final

disposition of the eclaim.’’ Since the Publie Vessels. Act has a 2-year period of
limitation within which suit shall be brought, it is thought that this objective of
affording the Federal agency an opportunity to dispose of the matter by settle-
ment could be accomplished by the use of the following language:
“Provided, That as to any suit against the United States for damage or injury
done or consummated on land by a vessel on navigable waters, the Public Vessels
Act or Suits in Admiralty Act, as appropriate, shall constitute the exclusive
remedy for all causes of action arising after the date of the passage of this Act
and for all causes of action where suit has not been hitherto filed under the Federal
Tort Claims Act: Provided further, That no suit shall be filed against the United
States until there shall have expired a period of six months after the claim has
been presented in writing to the Federal agency owning or operating the vessel
causing the injury or damage.”

It is thought that such a provision would be salutary in avoiding unnecessary
litigation and would constitute a financial saving both to the claimant and to
the United States. This language will also eliminate any possible issue as to the
exclusiveness of the Suits in Admiralty Act.

7 Bmended as suggested above the Navy Department recommends enactment

of H. R. -

The Navy Department has been advised by the Bureau of the Budget that there
is no objection to the submission of this report to the Congress. .

Sincerely yours,

W. Joun Kenney
Acting Secretary of the Navy.

Unirep States Maritime ComMISSION,
Washington 26, D. C. July 7, 1947.
Hon. Earu C. Micuener,
Chairman Committee on the Judiciary,
House of Representatives.
My Dzar Mr. Micuenser: On January 16, 1947, you requested the views of
‘the Maritime Commission on H. R. 238, a bill for the extension of admiralty
jurisdiction.

Case 2:10-md-02179-CJB-DPC Document 12345-3 Filed 02/14/14 Page 6 of 7

@ EXTENSION OF ADMIRALTY JURISDICTION 5

The bill would extend the admiralty jurisdiction to include all cases of damage
or injury to person or property caused by a vessel on navigable water notwith-
standing that such damage or injury be done or consummated on land.

Similar bills have been introduced in each session of Congress since the Seventy-
fifth Congress. The Maritime Commission reported favorably on S, 680, Seventy-
fifth Congress. The War Shipping Administration similarly reported on S. 554,
Seventy-eighth Congress. Both the Maritime Commission and the War Ship-
ping’ Administration reported favorably on S. 1030, Seventy-ninth Congress.

The present admiralty jurisdiction over torts is limited to such as oceur upon
navigable waters. The test of whether a tort occurs upon navigable waters is
determined by the place where the damage is done and not by the place where
the negligence occurs. Hence there is no admiralty jurisdiction over claims for
damage or injury to land structures, or to persons thereon, caused by vessels.
However, there is admiralty jurisdiction over claims for damage or injury to
vessels caused by land structures or by persons thereon. One occurrence may
therefore give rise to two actions, one in admiralty and the other at common law.
The result is duplicity of suits and anomalous situations, as is demonstrated by
the examples which follow:

In collisions between vessels and land structures the vessel owner may bring an
action to recover his damages in an admiralty court. The owner of the land
structures cannot file a cross action for recovery of the damages to the land struc-
ture but must institute a separate actior? at law. If the collision was caused
by the mutual fault of vessel and land structure, the vessel owner, having the
advantage of the admiralty half-damage rule, recovers one-half of his damages,
but the contributory-negligence rule precludes the owner of the land structure
from any recovery in the law action.

When a collision between vessel and land structure has been caused by the
fault of a compulsory pilot, the owner of the land structure is without remedy
because, at law, the compulsory pilot is not considered the servant of the master
or owner and the maxim qui facit per alium facit per se does not apply. However,
should the vessel sheer off: the land structure and collide further with another
vessel moored thereto, the owner of the second vessel can proceed in admiralty,
in rem, and recover full damages, for compulsory pilotage is no defense in such
an action.

Enactment of the proposed bill would simplify litigation, save legal expenses,
eliminate the anomalies mentioned, and equalize justice.

The Navy Department has suggested two amendments to the bill., The first
amendment would make it clear that the permission to sue provided for in the
bill, insofar as applicable to suits against the United States, would apply to claims
arising after enactment of the bill only, and that suits arising prior to enactment
would remain under the Federal Tort Claims Act.

The Maritime Commission favors this amendment for the reasons suggested
by the Navy Department. 6

The second amendment suggested by the Navy Department would provide 6
months waiting period before commencement of suit of the type of claim covered
by the proposed legislation. There is no similar waiting period provided either
in the Federal Tort Claims Act (sec. 410), or in the Suits in Admiralty Act or
Publie Vessels Act. If such amendment is thought desirable, it is believed that
the limitation might: be more appropriately accomplished by amendment of the
Suits in Admiralty Act and Public Vessels Act, rather than in the bill under
consideration, which is limited in its scope to particular types of admiralty |
claims only.

For the foregoing reasons, the Maritime Commission recommends favorable
consideration of the bill, amended as suggested.

The Director of the Bureau of the Budget has advised that there is no objection
to the submission of this report to your committee.

Sincerely yours
, W. W. Saaru, Chairman.

DEPARTMENT OF JUSTICE,
Orricme oF THE ASSISTANT TO THE ATTORNEY GENERAL,
Washington, July 1, 1047.
Hon. Earu C. Micuener,
Chairman, Committee on the Judiciary,
House of Representatives, Washington, D. C.

My Dear Mr. Crarrman: This is in response to your request for the views of
this Department relative to a bill (H. R. 288) for the extension of admiralty
jurisdiction.

Case 2:10-md-02179-CJB-DPC Document 12345-3 Filed 02/14/14 Page 7 of 7

6 EXTENSION OF ADMIRALTY JURISDICTION @

The bill would provide for the extension of admiralty and maritime jurisdiction
to all cases of damage or injury, to person or property, caused by a vessel on
navigable water, notwithstanding that such damage or injury be done or_con-
summated on land. In addition, the bill would permit suits to“be brought in
rem or in personam according to the principles of law and the rules of practice
obtaining in cases where the injury or damage has been done and consummated
on navigable water.

Under existing law, admiralty and maritime jurisdiction in respect of claims
arising out of maritime torts is extended by the United States courts to only those
cases where injury is done upon navigable waters, and not to those where injury
ig done to persons or property situated upon land, even though the injury is caused
by a vessel situated on navigable waters. For example, if a bridge or pier, or any
person or property situated thereon, is injured by a vessel, the admiralty courts of
the United States do not entertain the claim for damages thus caused. Cleveland
Terminal & Valley R. R. Co. v. Cleveland 8. 8. Co. (208 U. 8. 316); The Troy
(208 U. 8. 321); Martin v. West (222 U. S. 191). As a result of the denial of
admiralty jurisdiction in cases where injury is done on land, when a vessel collides
with a bridge through mutual fault and both are damaged, under existing law the
owner of the bridge being denied a remedy in admiralty, is barred by contributory
negligence in an action at law. But the owner of the vessel may, by a Suit in
admiralty, recover half damages from the owner of the bridge, contributory
negligence operating merely to reduce*the amount of recovery. Further, when a
collision between a vessel and a land structure is caused by the fault of a compul-
sory pilot the owner of the land structure is without remedy for his injuries since,
at law, a compulsory pilot is not deemed the servant of the vessel’s master or
owner. Homer Ramsdell Transportation Co. v. Compagnie Generale Transatlantique
(182 U. S. 406, 416). However, when a vessel is damaged through the fault of a
compulsory pilot operating another vessel, the owner of the vessel which has been
struck may recover full damage by an in rem proceeding in admiralty for the
wrong is viewed as that of the vessel itself and compulsory pilotage is no defense.
The China (74 U. S. 53). This bill would correct these inequities as a result of
providing that the admiralty courts shall take cognizance of all of them.

It seems unlikely that the bill would materially increase the liability of the
United States for injuries caused by its vessels. At the present time the Tort
Claims Act provides relief for claimants who would be benefited by this bill.
Moreover, in peacetime Government vessels are seldom in charge of a compulsory
pilot. On.the other hand, the bill would appear to be of substantial advantage
to the United States in permitting recovery for injuries done to Government-
owned submarine cables and shore installations through the negligence of com-
pulsory pilots in charge of private vessels.

The bill would not create new causes of action but merely direct the courts to
exercise the admiralty and maritime jurisdiction of the United States already
conferred by article III, section 2 of the Constitution, and by the Judicial Code.
Moreover, as to claims between private litigants, there will still remain available
the right to a common-law remedy which is expressly saved to claimants under
section 24 of the Judicial Code (title 28 U. 8. C., see. 41 (3)).

In extending the remedy in admiralty, the right of claimants to proceed against
the United States bv civil action will be abolished as a result of section 421 (d)
of the Tort Claims Act of 1946. In order to avoid conflict or uncertainty, it is
suggested that the bill he amended to indicate that it is to apply only to suits
instituted after its adoption. This may be accomplished by the insertion, after
the word ‘“That’’ in line 3, of the words “hereafter the exercise of.”

The Department finds no objection to the enactment of the bill.

The Director of the Bureau of the Budget has advised that there is no objection
to the submission of this report. . ‘

Sincerely yours,
Dovetas W. McGrecor,
The Assistant to the Attorney General.

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